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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

 RowVaughn Wells,

                        Plaintiff,
        v.                                              Case No. 2:23-CV-02224

 The City of Memphis et al.,

                        Defendants.


   PLAINTIFF’S MOTION TO COMPEL AND FOR COURT CASE MANAGEMENT

       Pursuant to Federal Rules of Civil Procedure 16(c)(2)(L) and 37(a)(1), Plaintiff, through

her undersigned counsel, submits the present motion to the Court. For the reasons set forth

herein, Plaintiff requests a hearing on this motion pursuant to Local Rule 7.2(d).

                                      TABLE OF EHXIBITS

        Ex. 1   Plaintiff’s sixth set of Rule 34 requests to City (Nov. 24, 2024)
        Ex. 2   City’s response to sixth set of Rule 34 requests (Dec. 26, 2024)
        Ex. 3   City’s first revised response to Rule 34 requests (Jan. 15, 2025)
        Ex. 4   City’s second revised response to Rule 34 requests (Jan. 28, 2025)
        Ex. 5   Rule 37 email chain (Jan. 13, 2025 – Jan. 28, 2025)
        Ex. 6   Rule 37 email chain (Jan. 31, 2025 – Feb. 24, 2025)
        Ex. 7   Rule 37 email chain (Jan. 28, 2025 – Feb. 14, 2025)
        Ex. 8   Letter from U.S. Dep’t of Justice to Plaintiff Counsel (Feb. 18, 2025)

                                         INTRODUCTION

       Discovery communications between Plaintiff and Defendant City of Memphis have

broken down, again. Last time, in December 2024, the City cut off Rule 37 communications

after Plaintiff’s counsel asked the City to explain the basis for a variety of dubious objections

that the City had lodged against Plaintiff’s discovery. That forced Plaintiff to file a motion to

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compel on January 10 (ECF 279). It turned out the City’s objections were based on nothing:

after Plaintiff moved to compel, the City largely capitulated and agreed to provide nearly all the

requested evidence, without further discussion. See ECF 299-1 at PageID 4208-09 (City email

agreeing to bulk of discovery without further discussion); PageID 4206 (Plaintiff response

pointing out City’s inappropriate discovery conduct). Cutting off Rule 37 in December was a

tactic to win a discovery dispute by frustrating the meet and confer process, and it failed because

Plaintiff went to the Court.

         The City has now done it again, cutting off discovery discussions just as Plaintiff

completed weeks of Rule 37 correspondence in preparation for a conference to work out with the

City how complex Monell ESI could be gathered from the City’s files. That has frozen

Plaintiff’s discovery in its tracks, all as the clock to complete discovery continues to tick away,

with only four months of written discovery remaining in this complicated Monell case. Here is

the discovery at issue in this motion:

       MPD database information accessed by the U.S. DOJ. Plaintiff has served discovery

asking the City to produce the documents it provided to U.S. Department of Justice for the DOJ’s

pattern and practice investigation of the MPD. The DOJ had conducted much of its investigation

by accessing data from several MPD databases, so this discovery involves gathering information

from those databases as well. Plaintiff’s counsel spent weeks emailing the City to figure out how

to conduct targeted searches of those databases, but days after Plaintiff asked for a conference

with the City to discuss how that methodology could be implemented, the City cancelled all

conferences and told Plaintiff’s counsel they should issue individual search requests to the City

via email. That about-face undid weeks of effort and effectively frustrated any efforts to gather

Monell evidence underlying the DOJ’s December 4, 2024 pattern and practice report.



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       Development of an ESI protocol. The City cancelled Rule 37 conferences just days after

Plaintiff asked it to come to their next conference prepared to discuss how to develop an ESI

protocol to gather discovery for multiple Monell discovery requests. ESI protocols of this nature

require parties to confer and come to an understanding over custodians, search terms, data

repositories, and search methodologies—a process that invariably requires dialogue between the

parties in a conference setting, lest back-and-forth written technical communications drag out for

months. Refusing to meet and confer about a protocol simply manufactures delay.

       The City’s attempt to unilaterally control the parties’ Rule 37 discussions. The City

cancelled the parties’ Rule 37 conference days after Plaintiff sent a lengthy discovery

enforcement letter pointing out numerous deficiencies a number of the City’s written discovery

responses and asking the City for a conference to explain those responses. The City said it

would provide a written reply instead, but as of this writing, that reply has never come. The

upshot is that Plaintiff is forced to wait until the City decides to respond, meaning that the City

effectively exercises unilateral control over what discovery it will address, and when it will

address it. Meanwhile, the time to complete discovery in this case continues to slip away.

                                          *       *       *

       At this stage of the litigation, time is a weapon for the City of Memphis. The U.S. DOJ’s

December 4 pattern and practice report makes plain that within the City’s files there is ample,

damning evidence of widespread unconstitutional conduct within the MPD, precisely of the sort

Plaintiff has alleged in her complaint. Plaintiff has served discovery targeted at gathering that

evidence to prove her Monell claims. The Court has given Plaintiff a limited time to gather that

evidence, however, with a July 12, 2025 cutoff for written discovery. It is imperative for

Plaintiff to gather this evidence within that schedule so that documents can be reviewed and



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understood, witnesses identified in those documents can be located, interviewed or deposed, and

experts can access the evidence and offer informed opinions about the City’s practices.

       Gathering this evidence in a timely manner requires discovery enforcement. And the

lynchpin of that enforcement is the live meet-and-confer conference between the parties, a

process contemplated under both Rule 37(a)(1) and Local Rule 7.2(1)(B). By refusing to

participate in Rule 37 conferences, the City has slowed Plaintiff’s discovery efforts to a crawl.

Instead of holding a scheduled conference where the parties can come together with their “cards

. . . laid on the table,” Liberty Ins. Underwriters, Inc. v. Beaufurn, LLC, No. 1:16-cv-1377, 2021

WL 185580, at *5 (M.D.N.C. Jan. 19, 2021), Plaintiff is forced to wait until the City decides to

respond over email, meaning that the City effectively exercises unilateral control over what

discovery it will address, and when it will address it.

       That has already resulted in significant delays, as Plaintiff explains below. It also invites

incomprehension, particularly with respect to complex discovery like the database and ESI

discovery at issue now. Indeed that incomprehension was front and center in the City’s very

emails announcing that it would be refusing to meet and confer. There, the City displayed a

wholesale misunderstanding of the database discovery Plaintiff was seeking, and which Plaintiff

had been laying out in a month of email correspondence with the City’s lawyers. Plaintiff is left

back at square one, and because the City has refused to confer, Plaintiff has no ability to try

coming to a meeting of the minds with the City’s lawyers in a direct dialogue. Meanwhile,

nearly half the written discovery period granted by the Court on January 3 has already expired.

       This cannot go on. In this motion, Plaintiff asks the Court to:

       (1) Order City to respond to discovery. Compel the City of Memphis to respond
           to certain discovery as outlined herein.




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       (2) Order City to participate in Rule 37 conferences. Compel the City to
           participate in live Rule 37 conferences with Plaintiff within one calendar week
           of receiving a Rule 37 conference request from Plaintiff’s counsel.

       (3) Schedule bi-weekly status conferences. Schedule bi-weekly status
           conferences to set an established time at which the parties can seek the Court’s
           help with unresolved discovery and case management disputes.

       Pursuant to Local Rule 7.2(d), Plaintiff requests a hearing regarding this motion. A

hearing is called for because the factual matters involved are complex, involving both electronic

discovery and access to databases. Plaintiff, furthermore, is unable to give a full accounting of

these issues because the City has cut off dialogue with Plaintiff’s counsel. Yet the issues demand

prompt resolution, as they go to important evidence regarding Plaintiff’s Monell claims while the

clock runs down on Plaintiff’s time to conduct her Monell discovery. Plaintiff submits that a live

hearing will permit the Court to cut the issues to the chase and determine whether Plaintiff is

entitled to the relief she seeks in this motion. Plaintiff’s counsel are prepared to appear in person

and at the Court’s convenience.

                                         BACKGROUND

       This motion concerns Plaintiff’s sixth set of Rule 34 requests for production to the City.

Plaintiff served those requests on November 24, 2024. Ex. 1. The City initially refused to

respond, claiming that the time for discovery had passed. Ex. 2. After the Court’s January 3,

2025 hearing, the City amended its responses to the discovery. By agreement, the responses

occurred in two different phases: on January 15, the City responded to one request, RFP 133,

which asked the City to produce the documents it had provided to the U.S. DOJ as part of the

DOJ’s pattern and practice investigation of the MPD. See Ex. 1 ⁋ 133. Ex. 3. The City

responded to the remaining discovery requests on January 28. Ex. 4.




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       Discovery enforcement proceeded on two tracks as well:

       Enforcement regarding request No. 133. On January 22, the parties held a Rule 37

telephone conference regarding RFP 133. See Ex. 5 at 4. Plaintiff then followed up with written

enforcement, on January 28 (Ex. 5 at 1), and then again on February 6, (Ex. 6 at 15-16),

February 12 (Ex. 6 at 12-13), February 14 (Ex. 6 at 10-11), February 17 (Ex. 6 at 8-9), and

February 18 (Ex. 6 at 8). To conclude this enforcement, Plaintiff proposed a Rule 37 telephone

conference to occur on or around February 20. See Ex 6 at 10, 9, 8.

       Enforcement regarding the remaining discovery requests. On February 14, Plaintiff sent

Rule 37 correspondence to the City regarding the City’s January 28 responses to the remaining

discovery requests. Ex. 7 at 1-3. Plaintiff proposed that the parties confer regarding these

requests on February 20 as well. Id.

       On February 19, the City emailed to say it was refusing to hold any further Rule 37

conferences with Plaintiff’s counsel. Ex. 6 at 6-7. The City claimed it was doing this because

during past conferences Plaintiff’s counsel had been unwilling to compromise, and the

conferences had become unproductive and contentious. Id. Instead, the City said it would

respond to Plaintiff’s discovery enforcement correspondence via email, and would do so the next

day. Ex. 6 at 7. Plaintiff wrote to disagree with the City’s unilateral cancellation of all Rule 37

conferences, explaining that they were indispensable for the parties to understand each other’s

positions. Ex. 6 at 4-5. To resolve any claims of acrimony Plaintiff proposed to have the parties

record the conferences, and asked the City to reconsider its refusal. Ex. 6 at 4-5. The City

declined. Ex. 6 at 1-2. While the City had promised to respond in writing to the issues raised in

Plaintiff’s discovery enforcement correspondence, Ex. 6 at 6-7, as of this filing Plaintiff has not




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received further correspondence from the City regarding the discovery defects discussed below.

This motion follows.

                                           ARGUMENT

       The City’s conduct has brought much of Plaintiff’s discovery to a standstill—or at best,

promises to drag it out under a timetable that the City unilaterally sets by deciding when it will

respond to Plaintiff’s discovery enforcement correspondence, and what items of correspondence

it will choose to address. As Plaintiff has set forth above, in this motion she asks the Court (1) to

order the City to respond to discovery; (2) to order the City to participate in Rule 37 conferences;

and (3) to take an active case management role by scheduling bi-weekly status conferences at

which the parties can get the Court’s help to resolve outstanding discovery and case management

disputes. These measures are required to ensure that discovery is completed in a timely manner.

   I. The Court should compel the City to respond to Plaintiff’s discovery.

           a. RFP 133 – Access to MPD database information underlying DOJ Report

       RFP 133 asks the City to produce: “All documents the City has provided or produced to

the DOJ since January 7, 2023 relating to or in connection with the DOJ Pattern or Practice

Investigation.” Ex. 1 ⁋ 133. 1 In response, on January 15th, the City produced a handful of

written policy documents. Otherwise, the City responded that it had provided several “law

enforcement databases” to the DOJ, and objected to producing these databases to Plaintiff on

grounds that they contained highly sensitive information regarding citizens, officers, and ongoing

investigations. Ex. 3.




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      Plaintiff has separately attempted to gather this information by asking the U.S. DOJ itself
to produce it. The DOJ, however, has objected and asserted numerous federal privileges barring
production. See Ex. 8 (February 18, 2025 letter from U.S. DOJ to Plaintiff’s counsel).

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       The parties held a Rule 37 video conference regarding this response on January 22. See

Ex. 5 at 1-3. During the conference (and in subsequent correspondence), the City explained that

it had made multiple MPD databases available to the DOJ. 2 The City explained that because it

had produced its databases to the DOJ, it did not know what information—in particular, what

information about what incidents—the DOJ had accessed from the databases to conduct its

investigation.

       Plaintiff asked the City whether it would agree to re-produce the databases to Plaintiff.

Ex. 5 at 2. The City objected on scope and confidentiality grounds. See id. at 2 (“Confidentiality”

and “Database fields” headings). In response, Plaintiff proposed that the City permit Plaintiff to

review the database fields so that Plaintiff could focus the search for responsive information. Id.

(“Database fields” heading). The City refused that proposal as well. Id.

       While the January 22 meet-and-confer did not resolve RFP 133, the conference did reveal

a possible means of identifying at least some of the information gathered by the DOJ: the

Evidence.com database. That database, which is maintained by a private vendor (Taser / Axon),

stores body camera video footage, and it records an audit trail identifying each user who viewed

each video. Ex. 5 at 3 (Plaintiff email to the City noting, “it is our understanding that . . .

Evidence.com contains both metadata and audit trails showing which videos were accessed, and

by whom.”). The DOJ’s investigators had been given login credentials to access the MPD’s

videos on the Evidence.com database, so Plaintiff asked the City to produce the DOJ audit trails.

Id. The City agreed and produced multiple Evidence.com audit trails to Plaintiff. Ex. 6 at 21.




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       The databases that the City described to the U.S. DOJ are: Axon, Getac, Hexagon,
IAPro/Blue Team, Inform RMS, PowerDMS, and Watson by Data Driven. All but one are
identified as operating on SQL software. The operation of SQL databases is described herein.

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       The Evidence.com audit trails are indeed a promising means of identifying numerous

incidents that were accessed by DOJ investigators during the DOJ’s pattern and practice

investigation. The Evidence.com database, and other MPD databases provided to DOJ, are

“relational” databases that use Structured Query Language, or “SQL” to identify and access

“related” data. By way of illustration, picture Blockbuster Video storing a list of customers on

one spreadsheet, and video titles in a second spreadsheet. A relational database “relates” the data

from these two spreadsheets via “unique IDs” that connect the data in the different spreadsheets,

which can then be “related” to each other using a SQL query. A Blockbuster employee can use

an SQL query to determine which video titles had been rented by a particular customer, or use a

different SQL query to find all the customers who had rented a particular video title.

       In a similar way, it appears that it may be possible to “relate” an incident recorded in the

Evidence.com videos with other MPD data regarding the same incident, such as incident reports,

investigations, complaints, and the like, in the MPD’s other databases. The Evidence.com

spreadsheets contain fields identifying: (a) when a DOJ user streamed a video; (b) the video’s

“owner,” i.e., the police officer whose BWC recorded the video; (c) an “Evidence ID” which

appears to assign unique ID numbers to every incident, and (d) an “Evidence Title” that appears

to identify the street address or name of incident where the video was recorded. The following is

an example, partially anonymized with X’s:

    Action                       Owner                       Evidence ID     Evidence Title
    Evidence Record Streamed     Bean, Tadarrius (147XXX)    P22129XXXX      48XX Tulane
    Evidence Record Streamed     PII Collins, MiXXXX         P22129XXXX      48XX Tulane

       As with the Blockbuster Video example, Plaintiff expects that one or more of these fields

(most likely, the “Evidence ID” or the “Evidence title” fields) can be used as a “unique ID” to

“relate” incidents recorded on Evidence.com videos with information in MPD’s other databases


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about the same incident. It stands to reason, indeed, that some field in the Evidence.com

spreadsheet permits “relating” each streamed video to the MPD’s other databases. Without it, the

Evidence.com videos would effectively be useless, as there would be no way to connect a

particular body camera video with a particular police encounter. “Relating” videos of incidents

viewed by DOJ investigators on Evidence.com with records about the same incident in the

MPD’s other databases appears to be an effective and targeted means of identifying many of the

incidents described in the DOJ’s December 4, 2024 pattern and practice report.

       On February 12, Plaintiff wrote the City to raise this point. Noting that Evidence.com

spreadsheets did contain audit trails showing which videos the DOJ accessed, Plaintiff asked:

       We presume each video on the Evidence.com site is linked to a case ﬁle / incident
       report / etc. in the RMS database and possibly some of the other databases you
       have listed. Along with the Evidence.com audit trail we would ask that you provide
       linking information to the other databases.

Ex. 6 at 13. Plaintiff concluded the February 12 email by asking for time to discuss this request

in the following days, once the City’s lawyers had an opportunity to “check with tech folks.” Id.

Plaintiff followed up on February 14 to elaborate on this request, explaining:

       The bulk of the use of force incidents described in the DOJ Report appear to
       compare what police video shows with the manner in which the incident was
       handled in . . . use of force reports, supervisory review, ISB review, etc. . . . That
       should signiﬁcantly narrow the documents we will need to review.

Ex. 6 at 11. Plaintiff therefore requested “information sufficient to link those videos with

information in the other police databases that pertains to the same incident as the video, such as

incident report numbers[.]” Id. Again, Plaintiff requested a Rule 37 conference to discuss this

possibility. Id. at 10. Plaintiff heard nothing from the City and emailed again on February 17 to

ask again for a conference. Ex. 6 at 8. Plaintiff emailed yet again on February 18. Id. In these

emails, Plaintiff proposed that the parties hold the call on February 20. Id.


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        On February 19 the City responded and said it would not hold future conferences. Ex. 6

at 6-7. The remainder of its email addressed a different set of requests (RFPs, 87-90, relating to

ISB files), but did not address Plaintiff’s correspondence about “connecting” the Evidence.com

database with the MPD’s other databases. Id. The City promised to send an email about

Plaintiff’s other discovery requests the next day (i.e., February 20), id. at 7, but nothing came.

        On February 21 Plaintiff followed up, noted Plaintiff had received no relevant

correspondence from the City, and asked the City to reconsider its refusal to confer. Ex. 6 at 4-5.

The City responded the same day, and wrote:

        It seems like you are again asking for us to produce the databases we have already
        declined to produce. We stand on our objection to producing the databases that we
        produced to the DOJ. You do not have the statutory mandate that the DOJ has to
        investigate a law enforcement agency, and just because we produced our entire
        records management system to the DOJ does not mean you are entitled to it. That is
        a ﬁshing expedition. If there is something in particular that you feel is responsive in
        a relational database that uses SQL, please send a request for that and we will
        respond accordingly.

Ex. 6 at 3.

        This email, of course, entirely misconstrued Plaintiff’s request—and ignored weeks of

emails in which Plaintiff’s counsel had been attempting to work out a way to target data

extraction from the MPD’s databases. In proposing to “relate” videos accessed by the DOJ’s

investigators in Evidence.com with records about those same incidents in the MPD’s other

databases, Plaintiff had already been proposing a method for targeted searches of the MPD’s

data. And the City’s offer to gather information in the databases if Plaintiff could identify

“something in particular” was an entirely empty gesture, as the City had already rejected

Plaintiff’s request for the fields in the databases so that Plaintiff could understand the types of

information that the databases were storing. See Ex. 5 at 2 (Plaintiff counsel noting that “We



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asked to have access to the database fields that would permit us [to] focus our review for

responsive information. You refused.”). 3

       That is where things stand. The City has refused to hold Rule 37 conferences to discuss

Plaintiff’s discovery and it has evidently failed either to read or comprehend the multiple emails

in which Plaintiff counsel sought to explain what they were seeking. The City’s refusal to meet

and confer is preventing Plaintiff from gathering the critical Monell evidence of the numerous

incidents described in the DOJ’s pattern and practice report.

           b. Remaining discovery from Sixth set of requests for production

       In addition to RFP 133, Plaintiff’s sixth set of requests for production contains a variety

of other discovery requests. The City served responses to these requests on January 28. Ex. 4.

Plaintiff sent a Rule 37 enforcement letter on February 14, requesting a Rule 37 conference on

February 20. Ex. 7. Plaintiff’s February 14 email sets out a variety of issues with the City’s

discovery responses. As of this filing, the City has not responded. Plaintiff summarizes those

items below.

       ESI / search protocol. As Plaintiff notes in her February 14 email, in response to

multiple requests the City stated that it had located no documents. Ex. 7 at 1. But those

representations, Plaintiff explained, are not plausible. Id. Instead, Plaintiff wrote, “the responses

call for an agreement to a discovery protocol for identifying and producing responsive

documents.” Id. Therefore, Plaintiff wrote,

       At our Rule 37 conference, we ask that you please be prepared to discuss:




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      The City also claimed that Rule 37 conferences had become contentious. Ex. 6 at 6. In
response Plaintiff offered to record the conferences using Zoom’s record feature, noting that such
recordings had resolved claims of acrimony in other cases. Ex. 6 at 4. The City has never
responded to that proposal.
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               1. the custodians who you identi[f]y as likely to possess
               documents responsive to the requests;
               2. the repositories (such as email, office ﬁles, and databases) you
               identify for search; and
               3. the methodology you propose to use to conduct the search,
               including all keywords and all other search methodologies.
       We believe the foregoing will assist us in completing appropriate searches in a
       timely and efficient manner.

Ex. 7 at 1. The City never responded to this request—and of course it refused to hold a

conference. But the conference that Plaintiff requested in her email is necessary. Courts have

long recognized that “[r]esponding parties are best situated to evaluate the procedures,

methodologies, and technologies appropriate for preserving and producing their own

electronically stored information.” Am. Consol. Indus., Inc. v. Blasingim, No. 1:19-CV-00137,

2024 WL 2093659, at *4 (N.D. Ohio Apr. 16, 2024) (quotation omitted). The parties are required

to confer regarding what requests require a protocol, who the likely custodians within the City

might be, where and in what repositories responsive documents might be located, and what

search methodologies would be most likely to identify and gather responsive documents in an

efficient manner. Plaintiff specifically requested a Rule 37 conference to discuss these issues,

see Ex. 7 at 1, and it was that conference that the City cancelled. Plaintiff requests that the Court

order the City to respond in writing to Plaintiff’s questions regarding an ESI protocol, and to

participate in conferences following the City’s written response so that an appropriate ESI

protocol can be worked out.

       Specific discovery requests. Plaintiff’s February 14 letter references a number of

specific discovery requests and asked the City to confer about them. See Ex. 7 passim. In

announcing that it was refusing to hold a conference, the City wrote that it would be providing

written responses by February 20. See Ex. 6 at 7. That written response never came, however,


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and as of this writing Plaintiff has not received a response. Plaintiff therefore understands that

the parties are at issue with respect to each of the items raised in Exhibit 7. Without engagement

from the City, Plaintiff can do little except incorporate her positions in Exhibit 7 by reference,

and does so here. See Ex. 7 passim (referring to RFPs 122, 125, 129-131, 134, 135, 136, 137,

139-141). The City should be compelled to amend its responses, for the reasons set forth in

Exhibit 7.

       The City should also be ordered to provide the clarifications requested at the outset of

Exhibit 7. Notably, with respect to a number of responses Plaintiff was forced to ask the City to

explain the basis for its written position, since some of those written responses beggared belief.

See, e.g., Ex. 7 at 3 (calling “implausible” the City’s written response to RFP 137 that there were

no responsive communications within the MPD about the “run tax” even after the revelations in

the Bean criminal trial, and asking the City to come to the parties’ Rule 37 call “prepared to

identify precisely how you attempted to identify documents responsive to this request.”). Other

matters require clarification as well. See id. at 1-2 (seeking clarification regarding privilege logs,

“not withholding” responses, “Rolling” productions, and personnel files). With no responses

from the City, Plaintiff is in the dark regarding this evidence.

   II. The City must participate in Rule 37 conferences.

       The City’s refusal to engage in Rule 37 conferences (both before and after its formal

announcement on February 19) has resulted in discovery enforcement on the City’s terms and on

the City’s timing. As Plaintiff has set forth above, that has stymied Plaintiff’s discovery efforts,

and stalled communications regarding complex electronic discovery in particular.

       The City’s purported grounds for refusing to meet and confer are meritless. The City

claims that Plaintiff’s counsel have refused to compromise their positions at the conferences.



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That is demonstrably untrue; in the parties’ January 22 conference, for example, Plaintiff counsel

repeatedly tried to narrow or target the scope of a request in response to the City’s objections and

offered suggestions for resolving others. See Ex. 5 at 1-3. 4 Indeed much of Plaintiff’s point in

requesting a follow-up Rule 37 conference on February 20 as to determine whether various

discovery compromises proposed by Plaintiff’s counsel were acceptable to the City. See, e.g.,

Ex. 6 at 10-11 (proposing Rule 37 conference on February 20 to discuss inter alia whether audit

trails from one of the MPD’s databases could be used as “an efficient way” to identify

information used by the DOJ in its pattern and practice report). Because the City is refusing to

meet and confer, Plaintiff still does not know whether this and other proposals are agreeable to it.

       Of course in some disputes, Plaintiff has stood firm. The City’s objection to this

misunderstands the ultimate purposes of the Rule 37 conference. The meet-and-confer

requirement is certainly “meant to encourage parties to [] talk with each other, see each other’s

positions, try to find areas of compromise, and work out disputes amongst themselves,” but

where the parties are ultimately unable to find common ground, it is intended to “narrow,

sharpen, and focus the issues they cannot resolve before they present those issues to the court.”

Sayta v. Martin, No. 16-CV-03775-LB, 2019 WL 1102989, at *2 (N.D. Cal. Mar. 8, 2019).

       That is how Plaintiff has approached these conferences. Plaintiff counsel have tried to

compromise where possible, but where that has not worked, Plaintiff has sought to understand

the City’s position so that a narrow, focused dispute can be presented to the Court. The City’s




   4
      As an example of Plaintiff’s efforts to resolve the City’s objections through compromise, in
the parties’ January 22 conference, the City refused to produce one of the MPD databases
containing information the City shared with DOJ, claiming that the database contained sensitive
information related to ongoing investigations. In response Plaintiff asked the City to share the
database fields, so that Plaintiff could try to narrow her requests to focus on responsive
information that does not involve ongoing investigations. The City refused. Ex. 5 at 2.

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refusal to participate in conferences has prevented that from happening. Plaintiff is left to seek

relief from the Court while guessing at the City’s ultimate reasons for opposing this or that

discovery request. That is not how it should be. The City has insisted it can conduct future Rule

37 “conferences” in writing, but its first attempt to do so, replete with misunderstandings of

Plaintiff’s effort to target data extractions from MPD databases, demonstrates why that is simply

impracticable. See supra at 11 & Ex. 6 at 3. The City, furthermore, never responded to multiple

deficiencies identified by Plaintiff weeks ago. See supra at 10-11 & Ex. 7.

       Stalling out discovery in this way prevents Plaintiff from conducting discovery

effectively or on time. The Court must obligate the City to respond appropriately to Plaintiff’s

discovery and to meet and confer with Plaintiff’s counsel. Plaintiff requests that the Court order

the City going forward to participate in a telephonic Rule 37 meet and confer within 7 days of a

request by Plaintiff. Such an order will help keep discovery in this case on track.

   III. The Court should schedule bi-weekly status conferences.

       At this point, Plaintiff believes that the Court’s intervention is called for to ensure that

this complex discovery can be completed in a timely manner. To that end, Plaintiff proposes that

the Court schedule a status conference to be held once every other week for the remainder of

discovery. The parties would submit any disputes to the Court in writing two business days

before the conference; or, if the parties have no disputes requiring resolution, they would so

inform the Court and the conference can be cancelled. Ideally most conferences would be

cancelled, since the parties should be able to work out their differences informally. As set forth

above, however, that has not been the case until now, and Plaintiff is running out of time to

complete discovery in this case.




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       Plaintiff respectfully submits that scheduling status conferences in this way would be an

efficient means for disputes to be resolved in a timely manner, so that the discovery in this case

can be completed within the period that the Court has allotted in the operative scheduling order.

                                         CONCLUSION

       For the reasons set forth in this motion, Plaintiff respectfully requests that the Court order

the following relief:

       (1) Compel the City of Memphis to respond to certain discovery as outlined
           herein.

       (2) Compel the City to participate in telephonic / video Rule 37 conferences with
           Plaintiff within one calendar week of receiving a Rule 37 conference request
           from Plaintiff’s counsel.

       (3) Schedule bi-weekly status conferences going forward, to set an established
           time at which the parties can seek the Court’s help with unresolved discovery
           and case management disputes at the conferences.



Dated: March 4, 2025                          Respectfully submitted,



 /s/ Stephen H. Weil

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                             CERTIFICATE OF CONSULTATION

       Pursuant to Local Rule 7.2(a)(1)(B), the undersigned hereby certifies that on February 24,

2025, counsel for Plaintiff consulted with all parties via email regarding the relief requested in

the foregoing motion. Counsel for defendant City of Memphis opposed all relief requested.

Counsel for defendant Michelle Whittaker did not oppose Plaintiff’s request for scheduling bi-

weekly hearings, so long as only one lawyer for a party were required to attend. The other

parties did not respond to Plaintiff’s request for position.

                                                       /s/ Stephen H. Weil
                                                       Stephen H. Weil
